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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


    ROOFERS’ PENSION FUND, on behalf                 Civil Action No.
    of itself and all others similarly situated,
                                                     16-2805 (MCA) (LDW)
                    Plaintiffs,

    v.                                               AMENDED SCHEDULING ORDER

    JOSEPH C. PAPA, et al.,

                    Defendants.


         THIS MATTER having come before the Court by way of a June 18, 2020 status

  conference before the undersigned; and the Court having considered the parties’ respective

  scheduling proposals (ECF Nos. 277, 282, 285, 288, 290); and the Court having considered the

  Government’s application for an extension of the limited discovery stay, as well as Lead Plaintiff

  and the Individual Action Plaintiffs’ objections thereto (ECF Nos. 274, 275, 277; Civ. A. No. 17-

  10467, ECF No. 113); and for good cause shown;

         IT IS on this day, July 14, 2020, ORDERED that:

     1. For substantially the same reasons as the Court’s December 12, 2019 and April 9, 2020

         Orders extending the October 16, 2019 limited discovery stay (ECF Nos. 242, 270), the

         Government’s application to further extend the stay of ten depositions relating to the

         pricing, sale, and marketing of generic pharmaceuticals in the United States by defendant

         Perrigo in light of an ongoing criminal investigation into anticompetitive practices in the

         generic pharmaceuticals industry is GRANTED. All terms of the Court’s October 16,

         2019 Order shall remain in effect until August 31, 2020 so that the limited stay of discovery

         is coterminous with an identical discovery stay in the In re: Generic Pharmaceuticals
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        Pricing Antitrust Litigation MDL proceedings in the Eastern District of Pennsylvania. The

        Court anticipates that continuation of the limited discovery stay will not impact the

        progress of this action as Lead Plaintiff has represented it will forego depositions of

        witnesses subject to the stay if necessary. The Court has granted this stay, in part, based

        on the Government’s representation that it will endeavor to release prospective deponents

        from the stay on a rolling basis, as soon as feasible.

     2. Fact discovery is extended through December 31, 2020. No fact discovery shall be issued

        or engaged in beyond that date, except upon application and for good cause shown.

     3. All affirmative expert reports shall be delivered by September 29, 2020. Any such report

        shall comport with the form and content requirements of Fed. R. Civ. P. 26(a)(2)(B).

     4. All rebuttal expert reports shall be delivered by November 16, 2020. Any such report shall

        comport with the form and content requirements referenced above.

     5. All reply expert reports shall be delivered by December 16, 2020. Any such report shall

        comport with the form and content requirements referenced above.

     6. Expert discovery, including the depositions of any expert witnesses, shall be completed on

        or before January 31, 2021.

     7. The parties shall appear for a telephonic status conference before the undersigned on

        October 15, 2020 at 2:00 p.m. The parties shall submit concise status letters to the Court

        no later than October 9, 2020 at 5:00 p.m. Plaintiff’s counsel shall initiate the call to

        (973) 645-3574 once representatives for all parties are on the line.

     8. Lead Plaintiff’s request that the Court set a briefing schedule for dispositive motions and a

        trial-ready date is premature at this juncture. The timing of any anticipated summary

        judgment motions may be raised by pre-motion leave letter, at the October 15, 2020 status



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        conference, or at any future status conferences, as dispositive motions are ordinarily filed

        after the close of at least fact discovery, and the Court would prefer that discovery progress

        further before the timing of any such motion is determined. The Court remains cognizant,

        however, of the age of the case and the need to bring it to conclusion as expeditiously as

        possible.

     9. As discovery in 19 related Individual Actions has so far been coordinated with discovery

        in this Class Action, defense counsel is directed to serve a copy of this Order on counsel

        for all Individual Action plaintiffs. Counsel in the Individual Actions are directed to meet

        and confer and submit a proposed discovery schedule to the Court on or before August 12,

        2020.

                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge




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